Case 2:03-cr-20476-SH|\/| U§M§@AQEOSS D§|leg@fl/Q_.§Q§ Page 1 of 2 Page|D 151

FOR THE

wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES OF AMERICA

CR. No. 03-20476-Ma

vS.

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TOMMIE LEE BROWN, JR.
APPLICATIONl ORDER and WRIT FOR HABEAS CORPUS AD TESTIFICANDUM
LIN'DA N. HARRIS, Assistant United Stat:es Attorney, applies to the Court for
a Writ to have LEONEL TORRES, DOB 6~12-74, SSN# XXX-XX-XXXX, TOMIS ID# 00292830,
now being detained in the Hardeman County Jail, on Tuesday', May 2, 2004 at 9:00
a.m. in Memphis, Tennessee for trial testimony before the Honorable Samuel H.
Mays, Jr. and for such other appearances as this Court may direct.

Respectfully submitted this /g day of April, 2005.

QM/f/ ,MM

ASSISTANT UNITED STATES ATTORNEY

 

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Upon consideration of the foregoing Application, DAVID G. JOLLEY, U.S.
MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN SHERIFF/WARDEN, Hardeman
County Jail in Boliver, Tennessee.

YOU ARE HEREBY COMMANDED to have LEONEL TORRES appear before the Honorable
Samuel H. Mays, Jr. for trial testimony at the date and time aforementioned.

ENTERED this lig day of April, 2005.

 

HoNoRABLE Th M. PHAM
UNITED sTATEs MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 123 in
case 2:03-CR-20476 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

